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 5   Attorney for Defendant
     DIANA HERNANDEZ-GONZALEZ
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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
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                                                              2:11-cr-00096-JAM
12 UNITED STATES OF AMERICA,
                                                              STIPULATION         FOR
13                         Plaintiff,                         MODIFICATION OF PRETRIAL
                                                              RELEASE CONDITION RE:
14          vs.                                               ELECTRONIC MONITORING;
                                                              ORDER
15 DIANA HERNANDEZ-GONZALEZ,
                                                              Judge: Hon. Kendall J. Newman
16                         Defendant(s).

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18
19                                             STIPULATION
20          Plaintiff, United States of America, by and through its counsel, Assistant United States
21   Attorney Paul A. Hemesath, and defendant Diana Hernandez-Gonzalez, by and through her attorney
22   of record, Hayes H. Gable III, agree and stipulate that the defendant’s amended special conditions of
23   release be modified to delete the requirement of electronic monitoring.
24          Since her release, the defendant has complied with all the term and conditions of her pretrial
25   release.
26          The undersigned has sought and obtained the approval of Pretrial Services Officer Gina
27   Faubion to the above-stated request.
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 1          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 2   Dated: August 2, 2011
                                                  Respectfully submitted,
 3
                                                  BENJAMIN B. WAGNER
 4                                                United States Attorney
 5
 6                                            By: /s/ Paul A. Hemesath
                                                  PAUL A. HEMESATH
 7                                               Assistant U.S. Attorney
 8
 9                                                 /s/Hayes H. Gable, III
                                                  HAYES H. GABLE, III
10                                                Attorney for Defendant
                                                  DIANA HERNANDEZ-GONZALEZ
11
12                                                 ORDER
13         Based upon the foregoing stipulation of the parties and with the agreement of the pretrial
14 services officer, and good cause appearing, the Court grants the defendant’s request that the terms of
15 the amended special conditions of release be modified to delete the requirement of electronic
16 monitoring All other conditions of release are to remain in full force.
17 IT IS SO ORDERED.
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     Dated: August 5, 2011
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                                                 _____________________________________
22                                               KENDALL J. NEWMAN
                                                 UNITED STATES MAGISTRATE JUDGE
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